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  IT IS ORDERED as set forth below:



  Date: April 2, 2020
                                                          _____________________________________
                                                                        Paul Baisier
                                                                U.S. Bankruptcy Court Judge

  _______________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                 |              CASE NUMBER
                                       |
PAMALA DENISE HELLER,                  |              18-60154-PMB
                                       |
      Debtor.                          |              CHAPTER 13
______________________________________ |

            ORDER RE-IMPOSING AUTOMATIC STAY AS TO SHELLPOINT

         This matter was set for hearing on April 2, 2020, at 10:00 a.m. (the “Hearing”) on Debtor’s

Motion to Re-Impose Automatic Stay (the “Motion to Re-Impose”), filed February 24, 2020 (Docket

No. 48). On October 16, 2019 creditor NewRez LLC d/b/a Shellpoint Mortgage Servicing

(“Shellpoint”) filed a Motion for Relief from Automatic Stay (the “Relief Motion”)(Docket No.

44). The Relief Motion was granted on January 27, 2020 by entry of an Order Granting Motion

for Relief from the Automatic Stay (Docket No. 46). At the Hearing, Debtor’s counsel appeared in

support of the Motion to Re-Impose. Counsel for the Chapter 13 Trustee appeared and did not

announce any opposition to the Motion to Re-Impose. Counsel for Shellpoint did not appear at

the Hearing in support or opposition to the Motion to Re-Impose.
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       The Motion to Re-Impose sought to re-impose the automatic stay as to Shellpoint. There

being no opposition to the Motion to Re-Impose, and having shown that the Debtor would be

irreparably harmed if the automatic stay of 11 U.S.C. § 362(a) were not re-imposed, the Court

finds cause to re-impose the stay.

       Accordingly, it is

       ORDERED as follows:

       1. The automatic stay of 11 U.S.C. § 362(a) is RE-IMPOSED as to Shellpoint, effective

           as of the entry of this order.

       2. The stay referenced in Paragraph 1 shall remain in effect through the pendency of this

           case until (i) further order of this Court, or (ii) the stay expires or terminates pursuant

           to 11 U.S.C. § 362(c)(1), (c)(2), or (e).

       3. The stay referenced in paragraph 1 may be vacated as to a party in interest if that party

           in interest did not receive notice of the Motion and files a pleading demonstrating the

           lack of service and a valid basis to oppose the stay referenced in paragraph 1. Upon the

           filing of such pleading, the stay referenced in paragraph 1 may be vacated as to the

           party in interest that was not served with or without further notice or an opportunity for

           a hearing.

       4. The granting of relief herein does not preclude Shellpoint from filing a subsequent

           motion for relief from stay as appropriate, or obtaining such relief.

       5. The relief granted in this Order is effective immediately upon entry of this Order, and

           is not subject to any stay.


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        The Clerk is directed to serve a copy of this Order upon Debtor, counsel for Debtor,

Shellpoint, counsel for Shellpoint, the Chapter 13 Trustee, and all parties on the mailing matrix in

this case.

                                    [END OF DOCUMENT]




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